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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 KILMAR ARMANDO
 ABREGO GARCIA, et al.,

                         Plaintiffs,

    v.                                                Case No. 8:25-cv-00951-PX

 KRISTI NOEM, et al.,

                         Defendants.


                 [PROPOSED] ORDER GRANTING PRESS MOVANTS’
               MOTION TO INTERVENE AND UNSEAL COURT RECORDS

         This matter is before the Court on the Motion to Intervene and Unseal Court Records

filed in this matter by fourteen news organizations (together, the “Press Movants”). Based upon

all the files, records, and proceedings herein,

         IT IS HEREBY ORDERED that the Press Movants’ request for limited intervention is

GRANTED; and

         IT IS HEREBY FURTHER ORDERED that the Press Movants’ motion to unseal is

GRANTED.

         The Clerk of Court is directed to unseal ECF Nos. 98, 101, 102, 104, and 105. The Clerk

is further directed to place a transcript of the April 30, 2025 hearing in this matter, referenced in

ECF No. 106, on the public docket as well.

         IT IS SO ORDERED.


Dated: ___________                                             ___________________________
                                                               The Honorable Paula Xinis
                                                               United States District Judge
